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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                              Richmond Division



FRED HANEY,
et al.,

       Plaintiffs,

V.                                         Civil Action No. 3:22cv55


GENWORTH LIFE INSURANCE
CO., et al.,

       Defendants.




                             MEMORANDUM OPINION


       This matter is before the Court on the objections that have

been    tendered     by   individual    class    members   in   opposition   to

PLAINTIFFS' MOTION FOR FINAL APPROVAL OF CLASS ACTION SETTLEMENT

(ECF    No.   39)    (''Motion   to    Approve   the   Settlement").^   These

objections are set out in letters and pleadings submitted by the

following individuals: Jonathan Bos (ECF Nos. 35 and 58), Peter

Michael and Keiko Howard (ECF No. 37), Darrell Taylor (ECF No.

38), Paul and Marcia Berg (ECF No. 44), Henry and Anna Dowler (ECF

Nos. 45 and 47), Julie Black (ECF No. 46), Ronald and Torrie Hays

(ECF No. 49), Lonny and Carrol Lang (ECF No. 51), Richard Moore


^ The objections filed by Michael Podoll (ECF No. 48), Dr. David
Friedman, James Perry, Thomas Toman, Doug and Bonnie Ebstyne, and
William and Linda Dudley (ECF Nos. 56, 69, and 73), and Jane Belkin
(ECF No. 53) have been resolved by agreement and will withdraw
their objections once the agreement is approved by the Court. See
ECF Nos. 105 and 106. So, those objections are not addressed.
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(ECF No. 54), Janet Arrowsmith (ECF No. 55), Sol Resnikoff (ECF

No. 59), Pamela Resnikoff (ECF No. 60), John Haslett (ECF No. 62),

Michael Mack (ECF No. 64), and Kathryn Dimiduk (ECF No. 67). Class

Counsel has responded in writing to the several objections.^ On

November 17, 2022, the Court heard argument on the objections from

the objectors and the parties.

     At the hearing, Gary Davis (ECF No. 61), arguing on behalf of

himself and Lorraine Freedlander, his          wife, raised additional

arguments about the notice of the Settlement. The Court ordered

additional briefing on that issue and will hear further arguments

at the final settlement approval hearing scheduled for December

13, 2022. ECF No. 98. Dimiduk (ECF No. 67) had also raised a

similar objection in her initial filing to the Court. Accordingly,

Davis's and that portion of Dimiduk's objections will not be

addressed in this MEMORANDUM OPINION.

     Having considered all of the submitted information and for

the reasons set forth on the record during the hearing on November

17, 2022, as well as the reasons set forth below, the remaining



2 REPLY MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS' MOTION FOR
FINAL APPROVAL OF CLASS ACTION SETTLEMENT (ECF No. 79) ("Reply
Brief").

Class Counsel also submitted an objection from Jerry Dean who
mailed his objection to the Claims Administrators. ECF No. 81-6.
The Court will not consider Dean's objection because, according to
Genworth's records, he is not a member of the class and thus has
no standing to object to the Settlement. See ECF No. 86 at 25 n.l4.
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objections     relating   to   Plaintiffs'    Motion    to   Approve    the

Settlement    will   be   OVERRULED.   Objections    relating    to    CLASS

COUNSEL'S APPLICATION FOR AN AWARD OF ATTORNEYS' FEES AND EXPENSES

AND SERVICE AWARDS TO THE NAMED PLAINTIFFS (ECF No. 41) ("Fees and

Awards Motion") will be addressed in a separate memorandum opinion.

                               BACKGROUND


I.   Procedural History: The Class Action Complaint and the Claims

     To resolve the objections to the Plaintiffs' Motion to Approve

the Settlement, it is necessary to understand the claims asserted

in the Class Action Complaint (ECF No. 1) ("Complaint") because it

is those claims, not other claims that might have been asserted,

that are being resolved by compromise. And, of course, any relief

that might be awarded in the event of success at a trial is
circumscribed by the claims that would have been tried. Thus,

relief achieved by settlement must be measured in perspective of

what relief was sought in the Complaint and what relief is
conceptually available based on the claims that were asserted
therein.


     A.      The Complaint (ECF No. 1)

      Fred Haney, Marsha Merrill, Sylvia Rausch, Stephen Swenson,

and Alan Wooten ("Class Representatives"), individually and on

behalf of a proposed class of Genworth Choice 2, Choice 2.1,
California CADE, California Reprice, and California Unbundled

policyholders as of January 1, 2013 (collectively "Plaintiffs or
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"class     members")/   filed   this    class   action    against      Defendants

Genworth     Life   Insurance   Company     ("GLIC")      and    Genworth     Life

Insurance Company of New York ("GLICNY") (collectively "Genworth"

or "Defendants"). Compl. H 170. Before the Complaint was filed on

January 28, 2022, the parties engaged in three-days of mediation

and   extensive     discovery    that    resulted    in     a    Memorandum     of

Understanding ("MOU") that set "forth the material terms of an

agreement-in-principle to be incorporated into a formal Settlement

Agreement for the Court's approval." ECF No. 28 HH 4-7. The
Complaint asserts two claims. COUNT ONE alleges a claim of

fraudulent inducement by omission. COUNT TWO is a claim for

declaratory relief under 28 U.S.C. § 2201.

      B.     The Factual Backdrop for the Class Claims

      Plaintiffs each have Choice 2, Choice 2.1, California CADE,

California     Reprice,   or    California      Unbundled       Long   Term   Care

Insurance policies issued by Genworth. Long Term Care ("LTC")
insurance is intended to defray the cost of home care, assisted

living care, nursing home care, and other specialized skilled
facility care required when an individual can no longer perform

the basic activities of daily life. Compl. t 4.

      Plaintiffs allege that, since 2013, Genworth has steadily and

substantially       increased   the     premiums    on    its    LTC    insurance
policies. Compl. H 3. When Genworth learned that there were
substantial deficiencies in its reserves going forward, it sought
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at least six     waves of      significant premium     rate    increases   to

compensate for the deficiency. Id. H 156. Plaintiffs also allege

that, to avoid reporting a current negative loss recognition

testing margin, Genworth relied almost entirely on billions of

dollars in future rate increases to plug the hole in its reserves.

Id. 1 15.

     However, say the Plaintiffs, Genworth's plan for substantial

future   rate   increases   was    never   shared    with   Genworth's     LTC

policyholders. Id. UH 157-59. Rather, it is alleged that Genworth

told policyholders only that it was "possible" that a premium rate

would increase in the future, without telling policyholders that

Genworth actually had significant holes in its reserve and that

Genworth planned to significantly increase premiums over the next

few years. Id.         24-29. Plaintiffs allege that Genworth only

partially disclosed material information when communicating the

premium increases to its LTC policyholders and that, without the

undisclosed     information.    Plaintiffs   could    not     make   informed

decisions in response to their policy option renewals. Id. ^ 3.
     In other words, it is alleged that the undisclosed information

was material to decisions that LTC policyholders made respecting

whether, and to what extent, to renew or retain their LTC coverage;

that the undisclosed information was necessary to make accurate

the disclosed information; and that, therefore, the omissions made

the disclosed information fraudulent. It is also alleged that
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Genworth intended that policyholders would rely on the knowingly

inadequate disclosures in making the election among their policy

choices.


     Generally    speaking,      the    choices    given     to    policyholders

respecting whether, and to what extent, to maintain LTC policies

were to: (1) maintain the existing LTC coverage and pay the

increased premium; (2) reduce the LTC coverage and pay a lower

premium; or (3) opt for a paid up LTC policy. Plaintiffs maintain

that, had they known the scope and magnitude of Genworth's plans

for future rate increases, they would have made different policy

option elections than they actually made. Compl. H 200.
     C.    The Claims


     In COUNT ONE, the Complaint presents a claim for fraudulent

inducement by omission. Compl. at 53-57. In particular, the

Complaint alleged:

           197. By     failing     to     adequately       disclose
           material    information      about     Genworth's      rate
           increase action plans, current reliance on its
           planned    future      increases       actually        being
           approved, and the risks to Genworth's solvency
           if such increases were not approved, and the
           impact those needed future rate increases
           already had on the Company's financial rating,
           Genworth   withheld material information from
           Plaintiffs and the Class.

           198. Genworth intended that Plaintiffs and the
           Class  Members   rely   upon  the   incomplete
           information it did provide in the hope that
           policyholders would make policy elections that
           were in Genworth's best interest and not the
           policyholder's best interest.
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           199. As a result, Plaintiffs and the Class
           members  were  unaware of   the scope  and
           magnitude of Genworth's entire rate increase
           action plan when they made their renewal
           elections.  They   were   also  unaware   of
           Genworth's reliance on this rate action plan,
           which included significant increases on other
           LTC policies, to build adequate reserves to
           pay Genworth's future claims.

           200. Without a complete picture of Genworth's
           massive rate increase plan. Plaintiffs and the
           Class     Members    made        certain       elections     in
           response to each rate increase announcement.
           Had they known the full scope and magnitude of
           Genworth's        rate     action       plans,       and     the
           Company's reliance on massive rate increases
           in the future to remain viable, they would
           have made different policy option elections.

Compl. HI 197-200 (emphasis added). The relief sought in COUNT ONE

IS



           (a)     a finding that Genworth withheld material
                   infonnation from Plaintiffs and the Class
                   regarding its plans for future rate
                   increases; its reliance upon obtaining at
                   least some    portion of future rate
                   increases    to     be    able     to    pay   future
                   claims;    and    the     impact that        need    for
                   additional rate increases has already had
                   on Genworth's financial rating;

           (b)     injunctive       relief    in    the    form   of     an
                   adequate    and    corrective         disclosure      to
                   Plaintiffs and the Class that reveals the
                   omitted    information,         and    the   right    to
                   make new policy renewal elections                     in
                   light of the new disclosures;

           (c)     if Genworth is found to have omitted
                   material information, then rescission of
                   Plaintiffs'   and   the  Class'   policy
                   renewals each year since Genworth first
                   made those omissions; and
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           (d)    return of premiums paid for each year a
                  renewal of the policy was rescinded.

Compl. H 202 (a-d) (emphasis added). The Complaint also says that,

as to COUNT ONE;


           213. To avoid doubt, if the above relief is
           obtained. Plaintiffs and the Classes (sic)
           seek to be placed in the same position they
           were     in     before         Genworth        made     the
           aforementioned omissions, meaning they would
           still have the same guaranteed renewable LTC
           policies they had prior to the omissions, and
           must then decide         whether to maintain their
           respective policies in light of the current
           premiums that would be due, or what level of
           coverage they prefer in light of the new
           premiums they would be charged.

Compl. H 203 (emphasis added).

     In COUNT TWO, the Complaint presents a claim under the

Declaratory Judgment Act, 28 U.S.C. § 2201. The Declaratory

Judgment claim is based on the same factual assertions as form the

basis for the fraudulent inducement claim in COUNT ONE. But in

COUNT TWO, the Plaintiffs are asking that the Court "declare

Genworth had a duty to disclose that information" so that "a

corrective    disclosure      to    all       class   members    providing   this

information would be required." Compl. H 207.

      Then, the Complaint presents a PRAYER FOR RELIEF that is not
tethered specifically either to COUNT ONE or COUNT TWO. That
section of the Complaint seeks:

             B.   That   the       conduct      alleged   herein    be
                  declared,    adjudged and           decreed to be
                  unlawful;


                                          a
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            C.   That   Plaintiffs        and   the   Class    they
                 represent   be   awarded   compensatory,
                 consequential, and general damages in an
                 amount to be determined at trial;

            D.   Injunctive relief as is warranted;

            E.   Costs and disbursements of the action;

            F.   Pre-and post-judgment interest;

            G.   Reasonable attorneys' fees; and

            H.   Such   other   and   further    relief   as   this
                 Court may deem just and proper

Compl. at 58 {emphasis added).

     D. The Previous Suits


     To fully comprehend the claims in this case, it is necessary

to understand the two kindred suits that preceded this one. In the

first case, Skochin v. Genworth Life Ins. Co., No. 3:19cv49, the

plaintiff    class    comprised       a   different    set     of     Genworth's

policyholders, but the claims they brought were essentially of the

same type as those presented in this case but related to different

LTC policies and time frames. The parties in Skochin engaged in
extensive discovery and Genworth moved to dismiss the claims under

Fed. R. Civ. P. 12(b)(6). 3;19cv49, ECF No. 39. The Court granted

the motion to dismiss as to one count of the AMENDED COMPLAINT in

that case but denied it as to three other counts. 3;19cv49, ECF

No. 79. The parties eventually reached a settlement agreement with

terms similar to those proposed here. The second case, Halcom v.

Genworth Life Ins. Co., No. 3:21cvl9, was filed two years after
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Skochin, just as Skochin approached its resolution. Halcom too

involved LTC policies but of different types and for different

time frames. Having tested the strength of their respective claims

and defenses in the Skochin litigation, the parties in Halcom were

able to engage in significant informal discovery and several rounds

of mediation. By the time the complaint was filed in Halcom, the

parties had already more or less agreed to the terms of a

settlement. Just as in Skochin, the parties reached a settlement

agreement with similar terms, and that litigation came to a close

in June 2022.


      While there are significant similarities between this case

and   Skochin   and   Halcom,   it   is   also   important   to   note   the

differences because those differences significantly affected the

settlement terms in this case. Plaintiffs in Skochin and Halcom

included Choice I, PCS I, and PCS II policyholders. Those types of

policies were subject to a Multi Year Rate Increase Action Plan

{''MYRAP") that Genworth failed to disclose to the policyholders,

leading to cumulative rate increases of 250% or more over a decade.

The policies at issue in the current case were not subject to the
MYRAP or any comparable long-term rate increase plan. Instead, the

rates were evaluated closer to an annual basis, which is the key

difference between this case and Skochin and Halcom.




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II.   Preliminary Approval and Notice

      After engaging in a period of discovery to confirm, and

augment, what had been learned in Skochin and Halcom, Class Counsel

filed PLAINTIFFS' MOTION TO DIRECT NOTICE OF PROPOSED SETTLEMENT

TO THE CLASS (ECF No. 26), which the Court granted on May 2, 2022.

ECF No. 31. On July 6, 2022, the parties submitted an Amended

Settlement Agreement (ECF No. 33-1) to amend the final Release to

mirror Halcom. ECF No. 33 at 2. The Court preliminarily approved

the Amended Settlement Agreement on July 7, 2022, and directed

that notice be sent to the Class. ECF No. 34. The Notice explained

the policy election options afforded to class members, how they

could communicate with Class Counsel about the Amended Settlement

Agreement, their rights and options thereunder, how they could

examine certain information on a website that was set up as part

of the settlement process, and their right to object to the

proposed settlement and opt out of the proposed case. Class members

were also informed that they could contact independent counsel of

their choice for advice.

      As required by the Class Action Fairness Act, 28 U.S.C. §

1715, on April 11, 2022, notice of the proposed settlement and the

terms thereof were sent to the appropriate state representatives

in each of the 50 states and the District of Columbia as well as

to the Attorney General of the United States. DEFS.' NOTICE OF

COMPLIANCE WITH 28 U.S.C. § 1715 (ECF No. 29). That notice afforded

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the various governmental entities a full and adequate explanation

of the settlement terms and the procedures necessary for them to

participate in this case.

      Class Counsel has represented that they spoke to almost 4,300

policyholders who had questions about the Amended Settlement

Agreement. ECF No. 40 at 22. Over the course of the sixty days

allotted   in   the   Notice,    187   policyholders    opted     out   of   the

Settlement Agreement and 19 objections were filed by 27 Class

Members. No state regulatory authorities filed any objection. On

November 17, 2022, the Court held a hearing to give objectors the

opportunity to explain their objections and for counsel to the

parties to respond.

III. The Terms of the Settlement


      To   understand   the     objections   to   the   Amended    Settlement

Agreement, it is necessary to understand the terms of the Amended
Settlement Agreement itself. In broad terms, as explained by Class

Counsel, the Amended Settlement Agreement "directly addresses

[the] alleged harm by providing Class Members with additional

Disclosures about future rate increases, and then allowing them

options" to either maintain their current benefits or "restructure

their benefits and premiums in light of those Disclosures, if they

so wish." ECF No. 40 at 2 (emphasis added). The pertinent terms of

the Amended Settlement Agreement are discussed below.



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      As provided in the Amended Settlement Agreement dated July 6,

2022 (ECF No. 33-1), the parties agree to a payment structure

similar to those agreed upon in Skochin and Halcom, and Genworth

agrees to a preliminary settlement approval process in which the

Court    certifies     the    class    solely       for    purposes       of   a   class

settlement. ECF No. 33-1 H 45(a). Class members will receive a

"special     election     letter"      from     Genworth,         which   will     allow

recipients      to   choose     between   keeping         their    current     plan   or

"elect[ing] from a selection of paid-up reduced benefit options

and/or reduced benefit options . . . some of which also entitle

Class Members to damages payments." Id. Hf 46(a)-(b). Class members

who make no elections will simply retain their current policies.

Id. H 48(a).

        Class   members   who    are   not     in   non-forfeiture        status,     and

"excluding Class Members whose level of benefits are below the

level of benefits available in the defined options," will receive

the following election options (ECF No. 33-1 at App. C(I)):

   • First Paid-Up Benefit Option; A paid-up benefit of lifetime
        paid-in premiums minus (1) benefits received to date, and (2)
        $10,000. And, in addition, a $10,000 cash damages payment.

   • Second Paid-Up Benefit Option; A paid-up benefit of 1.5 times
        the difference between the class member's paid-in premiums to
        date minus claims paid to date. This option does not include
        a damages payment.




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  • Reduced Benefit Options (RBOs); For qualifying class members,
      options that reduce their policy benefits while also awarding
      them a $6,000 damages payment. A catchall RBO for otherwise
      non-qualifying members whereby they receive a benefits
      reduction and a damages payment of $1,000.

   • Fully Paid-Up Options; Class members who are in fully paid-
     up status may choose between: (1) Paid-up benefits equivalent
      to premiums paid in, less $10,000 and less benefits received,
      in addition to a $10,000 damages payment; or (2) a reduction
      in benefits and a damages payment of $6,000.

   • Non-Forfeiture Status Option: Retention of current paid-up
     benefits and a damages payment of $1,000.

ECF No. 33-1 at App. C. At the November 17 hearing, counsel for

Genworth informed the Court that an agreement {referred to as "the

Objectors'    Settlement    Agreement")     had    been   reached     between

Plaintiffs, Genworth, and a group of objectors, including Michael

Podoll (ECF No. 48), Jane Belkin (ECF No. 53), and Dr. David

Friedman, James Perry, Thomas Toman, Doug and Bonnie Ebstyne, and

William and Linda Dudley (ECF Nos. 56, 69, and 73). The Objectors'

Settlement Agreement modified two of the Special Election Options,

added a new Option, contained a release provision and agreement to

withdraw     the   objections,   and    provided    attorneys'      fees   and

incentive awards for the objecting parties. ECF No. 106. The Court

will consider the Objectors' Settlement Agreement on December 13,

2022. Accordingly, the Objectors' Settlement Agreement is not

addressed in this MEMORANDUM OPINION, but it is important to

explain the modified special election options and the new option



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as they are relevant to some of the objections discussed below.^

The Objectors' Settlement Agreement produced the following three

changes to the Special Election Options in the Amended Settlement

Agreement;

  • An option was added for class members with qualifying
      inflation benefits to receive a reduction in their overall
      benefits but retain the inflation protection and receive a
      damages payment of $3,000.

  • Expanded the eligible members for the catchall RBO option and
      increased the damages payment from $1,000 to $1,200.

  • Increased the damages payment for the non-forfeiture status
      option from $1,000 to $1,150.

ECF No. 106 at 4-6.


      The Amended Settlement Agreement is further conditioned on

approval by state insurance regulatory bodies. The Agreement

provides that information about the Special Elections Letters will

be sent to each state's regulatory body, with Genworth retaining

the right to decide how to proceed in the event that a regulator

raises an objection or concern. Id. H 49(a)


2 The objections were made in response to the Amended Settlement
Agreement (ECF No. 33-1) even though it is the Second Amended
Settlement Agreement (ECF No. 109-1) which reflects changes to the
Special Election Options in Appendix C made as a part of the
Objectors' Settlement Agreement that will ultimately be the
document that applies to the Class members if the Court approves
it. ECF No. 106-1. The Court is not required to provide an
additional objection period for Class Members to review the Second
Amended Settlement Agreement because the changes are narrow and
further the interests of the Class. See Shaffer v. Continental
Cas. Co., 362 Fed. Appx. 627, 631 (9th Cir. 2010); Harris v.
Graddick, 615 F. Supp. 239, 244 (M.D. Ala. 1985).

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      The   Amended   Settlement     Agreement   further    provides    for

attorney fees equivalent to 15% of damages payments with a cap of

$13 million. ECF No. 33-1 H 55(a). Importantly, these fees are

over and above the damages payments to class members and are not

taken out of those payments. For example, for every $1,000 in

damage payments, the class member gets the full $1,000 and the

attorneys get a separate payment of $150. Expenses are capped at

$50,000 and likewise will not be deducted from payments to class

members. Id. H 56. The Class Representatives will receive incentive

payments of $15,000 each. Id. H 57. The remaining terms (fee to

settlement administrator, non-disparagement, etc.) have no notable

provisions. The release provision in the Haney settlement mirrors

the modified version of the final release provision in Halcom,

which was submitted by the parties in response to the Court's

concerns about the prior release language.

      It is against this background that the objections will be

considered.

                             LEGAL FRAMEWORK


      A district court may approve a class action settlement

agreement only after complying with the procedures set forth in


4 Pursuant to the Court's Order, Genworth sent this notification
on April 11, 2022, ECF No. 29, and there were no objections. ECF
No. 82. Since there were no objections by any state regulator, the
provision that offers class members a $100 compensation is
irrelevant. Id. H 49(g) (triggered "[o]nly in the event that a
State Regulator objects . . .").
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Fed. R. Civ. P. 23(e). Rule 23(e) provides for three stages and

two separate     hearings   to effectuate      the   settlement approval

process. At the first stage, the parties must present the proposed

settlement to the court for the court's preliminary approval, and,

if the class has not yet been certified, for conditional class

certification. In the second stage, assuming that the class action

settlement was approved preliminarily, notice must be sent to

potential class members describing the terms of the proposed

settlement, class members must be given an opportunity to object

or to opt out of the settlement, and the court then must conduct

a fairness hearing at which class members may appear and support

or object to the settlement. At the third and last stage, the court

must take into consideration all of the information before it and

determine whether "final approval" of the settlement is merited.

      Fed. R. Civ. P. 23(e) provides that "[t]he claims, issues, or

defenses of a certified class-or a class proposed to be certified

for purposes of settlement-may be settled, voluntarily dismissed,
or compromised only with the court's approval." Fed. R. Civ. P.
23(d). A class settlement can be approved "only after a hearing

and on a finding" that the proposed class-action settlement is
"fair, reasonable, and adequate." See In re MicroStrategy, Inc.

Sec. Litig., 150 F. Supp. 2d 896, 903-04 (E.D. Va. 2001). When

determining whether to approve a class action settlement, the court

will first consider whether the process leading to the settlement

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was fair and then turn to whether the terms provided within the

settlement are adequate. See Jiffy Lube Sec. Litig. ^ 927 F.2d 155,

158-59 (4th Cir. 1991).

      The Fourth Circuit has set a multifactor standard to assess

whether   a    class   action    settlement   is   ^^fair,   reasonable,   and

adequate." The "fairness" evaluation centers on the settlement

process   itself.      Whitaker v.    Navy    Federal   Credit    Union,   No.

09CV2288, 2010 WL 3928618, at *2 (D. Md. Oct. 4, 2010). In making

this deteirmination, a court should consider:

              (1)   the posture of the case at the time
                    settlement was proposed;

              (2)   the extent of discovery that had been
                    conducted;


              (3)   the   circumstances       surrounding       the
                    negotiations; and

              (4)   the experience of counsel in the area of
                    [the] class action litigation.

See In re Jiffy Lube Sec. Litig., 927 F.2d 155, 159 (4th Cir.

1991). The "adequacy" evaluation focuses on the substance of the

settlement. Whitaker, 2010 WL 3928616, at *2. In assessing the

adequacy of the proposed settlement, a court must consider:
              (1)   the relative strength of the plaintiffs'
                    case on the merits;

              (2)   the   existence   of   any   difficulties    of
                    proof or strong defenses the plaintiffs
                    are likely to encounter if the case goes
                    to trial;




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           (3)   the anticipated duration and expense of
                 additional litigation;

           (4)   the solvency of the defendant[ ] and the
                 likelihood of recovery on a litigated
                 judgment; and

           (5)   the    degree    of        opposition   to   the
                 settlement.


See In re Jiffy Lube Sec. Litig., 927 F.2d 155, 159 {4th Cir.

1991). The reasonableness, fairness, and adequacy analysis of the

overall settlement will be made in a separate order, but the basic

principles must be kept in mind when assessing the objections.

      A lack of objection to the settlement by class members, and

the absence of (or a limited number of) opt outs from the class,

are evidence of low opposition to the settlement and weighs in

favor of its approval. See In re Mills Copr. Sec. Litig., 265

F.R.D. 246, 257-58 (E.D. Va. 2009).            However, under Fed. R. Civ.

P. 23(e), the Court must protect unnamed class members from "unjust

or unfair settlements affecting their rights." Amchem Prod., Inc.

V. Windsor, 521 U.S. 591, 623 (1997).

      Class members, of course, have a right to object to the

proposed settlement terms; and, thus, they are entitled to present

their objections before the court decides whether to approve the

proposed settlement. See Fed. R. Civ. P. 23(e)(5)(A) ("Any class

member may object to the proposal if it requires court approval

under this subdivision (e). The objection must state whether it

applies only to the objector, to a specific subset of the class,

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or to the entire class, and also state with specificity the grounds

for the objection."). An objector is generally entitled "to be

heard, to examine witnesses and to submit evidence on the fairness

of the settlement." Flinn v. FMC Corp., 528 F.2d. 1169, 1173 (4th

Cir. 1975).

      In deciding whether to approve a settlement, the court must

account for the "strong judicial policy in favor of settlement to

conserve    scarce    resources   that   would   otherwise     be   devoted   to

protracted litigation" when considering class members' objections.

Robinson v. Carolina First Bank NA, No. 7;18-cv-02927, 2017 WL

719031, at *8 (D.S.C. Feb. 14, 2019). The objectors to a class

settlement generally bear the burden of proving the predicate for

the challenges they make to the reasonableness of a class action

settlement. United States v. Oregon, 913 F.2d 576, 581 (9th Cir.

1990) ("In this circuit, we have usually imposed the burden on the

party objecting to a class action settlement."); see also Schechter

V. Crown Life Ins. Co., No. 2:13-cv-05596, 2014 WL 2094323, at *2

(C.D. Cal. May 19, 2014) (stating that objectors bear the burden

of showing that settlement approval would contravene its equitable
objectives).

                                  DISCUSSION


      Before    the    November    hearing,      the   Court    reviewed      all

objections and the responses to them. Then, at the hearing,
objectors      were   afforded    the    opportunity    to     explain     their

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objections orally. Class Counsel and attorneys for Genworth had

the opportunity to respond to each of the objections.

      The objections to the Settlement can be organized into six

categories: (1) challenges to the composition of the class; (2)

challenges involving notice; (3) challenges to the Settlement

options; (4)        challenges      concerning    the overall fairness and

adequacy     of     the   Amended    Settlement;      and    (5)    miscellaneous

objections that did not fit in another category; and (6) challenges

to the amount of attorneys' fees or service payments.

      In    this    MEMORANDUM   OPINION,      the   Court   will    address   each

category     of     objections   except       objections     to    the   amount   of

attorneys' fees or service payments, which will be addressed in a

later opinion.

I. Challenges to the Composition of the Proposed Settlement Class

      The Langs (ECF No. 51), the Bergs (ECF No. 44), and Haslett

(ECF No. 62) all present objections pertaining to the make-up of

the proposed Settlement Class (hereafter "Class"). The Langs (ECF

No. 51) argue that a segment of the Class lacks standing so the

Class cannot be properly certified. ECF No. 51 at 8-13. The Langs

also believe that the Class should be divided into subclasses for

those with limited damages and those with more substantial damages

as well as a subclass for those in non-forfeiture status. Id. at

13-19. Haslett (ECF Nos. 62 and 63) argues that the interests of

class      member    partnership      policyholders     were       not   adequately

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represented by Class Counsel and should be treated differently

from other policyholders. ECF No. 62 at 25-28. Finally, the Bergs

(ECF No. 44) contend that the Class should be broadened to include

any individual who paid a premium to Genworth at some point and

allowed their policy to lapse because they were also subjected to

the same alleged fraudulent inducement as the current class

members. ECF No. 44 at 2.


      Under the terms of the Amended Settlement Agreement, the Class

is defined as:


            [A]11 Policyholders (defined below) of GLIC
            and GLICNY long-term care insurance Choice 2,
            Choice  2.1,   California   CADE,  California
            Reprice, and California Unbundled policies and
            state    variations      of    those       Class    Policies
            (defined below) in force at any time during
            the Class Period (defined below) and issued in
            any of the States (defined below) excluding:
            (1) those Policyholders whose policies entered
            Non-Forfeiture     Status          (defined       below)   or
            entered a Fully Paid-Up Status(defined below)
            prior   to  January   1,   2014;  (2)   those
            Policyholders whose Class Policy is Lapsed
            (defined below) and is outside any period
            Genworth allows for the Class Policy to be
            automatically reinstated with payment of past
            due     premium,   or    whose       Class    Policy       has
            otherwise Terminated (defined below), as of
            the date of the Class Notice; and those
            Policyholders whose Class Policy is Lapsed and
            is outside any period Genworth allows for the
            Class Policy to be automatically reinstated
            with payment of past due premium or has
            otherwise    Terminated,       as     of    the    date    the
            Special Election Letter (defined below) would
            otherwise be mailed to the Policyholder; (3)
            those Policyholders who are deceased at any
            time before their signed Special Election
            Option (defined         below)      is   post-marked for

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           mailing to Genworth, or is faxed or emailed to
           Genworth; (4) Genworth's current officers,
           directors, and employees as of the date Class
           Notice is mailed; and (5) Judge Robert E.
           Payne and his immediate family and staff.

EOF No. 33-1 ^ 22 (footnotes omitted). "Class Policies" are defined

as "Genworth long-term care insurance policies, or, for group

policies, certificate forms identified in Appendix A to this

Settlement Agreement in force at any time during the Class Period

and issued in any of the States." Id. H 24.

      A. Objection Based on Standing

      In class action suits, "[e]very class member must have Article

III standing in order to recover individual damages." TransUnion

LLC V. Ramirez, 141 S. Ct. 2190, 2208 (2021). Here, the Langs (ECF

No. 51) argue that class members from Virginia and Massachusetts

do not have standing because the Langs assume that those class

members    must   have   received   disclosures    of   future   increased

premiums because an objection from Haloom suggested that had
occurred to some individuals in that separate class of plaintiffs.

ECF No. 51 at 9-10. However, as Class Counsel correctly notes, the

Langs do not offer independent evidence that any class members in
this suit received disclosures of future increased premiums, and

the Court cannot presume that such notice was given based on a

notice provided to a wholly different set of policyholders in a
case involving different polices and time frames. See ECF No. 86
at 30-31. Further, as Class Counsel provides, the disclosures made

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to certain policyholders in Virginia and Massachusetts in Halcom

are different from the disclosures that the Plaintiffs in the

present    case    are    receiving        in   accordance    with   the    Amended

Settlement    Agreement.       Id.    at    31-32.   Accordingly,     the    Langs'

objection as to class members' standing is overruled.

       B. Siibclasses


       The Langs (ECF No. 51) also argue that the Class should be

divided between those who suffered limited damages and those who

suffered more substantial damages as well as a subclass for

policyholders in non-forfeiture status. ECF No. 51 at 13, 16.

       Fed. R. Civ. P. 23(c) provides that,             [w]hen appropriate, an

action may be brought or maintained as a class action with respect

to particular issues . . . [and] [w]hen appropriate, a class may

be divided into subclasses that are each treated as a class under

this    rule."    Fed.    R.   Civ.   P.    23(c)(4)-(5).     That   rule    grants

authority to create subclasses in situations in which common and
noncommon issues are intermingled. Subclasses may be appropriate

when class members seek different types of relief or where there

are similar types of factual differences between the claims of
different groups or class members. However, "a class need not be
subdivided       merely    because     different     groups     within     it   have

alternative legal theories for recovery or because they have

different factual bases for seeking relief." 7A Wright & Miller,

Federal Practice and Procedure § 1790 (3d ed. 2020).

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       I.   Subclass Based Upon Amount of Damage Suffered

       The Langs argue that there should be a subclass for class

members with limited damages and another for class members with

more    significant    damages     because    there   is   a   fundamental

intraclass conflict" between those groups. ECF No. 51 at 13. This

objection is based on their previous argument that class members

in Virginia and Massachusetts allegedly received notice of the

future increased premiums, but as discussed above, that argument

cannot be credited because it is based on an assumption rather

than evidence. But, even if there were a disparity in damages,

that would not warrant forming a subclass. See Morris v. Wachovia

Sec., Inc., 223 F.R.D. 284, 299 (E.D. Va. 2004) ("[D]ifferences in

damages among the potential class members do not generally defeat

predominance if liability is common to the class.").

       The Langs point to two decisions of the Supreme Court of the

United States to support their argument that the Class should be

divided based on the amount of damages suffered. ECF No. 51 at 14

(discussing Amchem Prods., Inc. v. Windsor, 521 U.S. 591 (1997)

and Ortiz v. Fibreboard Corp., 527 U.S. 815 (1999)). In Amchem,

the     Supreme   Court    found     that    subclasses    with    separate
representation for class members with present and future claims
was necessary. 521 U.S. at 627. Two years later, in Ortiz, the
Supreme Court required the division of the class along those same
parameters as well as a subclass for those who would have their
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damages covered by the insurance and those who did not because the

interests of the two groups were in conflict for the reason that

the claims that would be paid by the insurance entity were more

valuable. 527 U.S. at 856-58. The Langs also cite a class action

out of the United States Court of Appeals for the Second Circuit

where the court found that Amchem and Ortiz required subclassing

based on the type of claim asserted because ^^essential allocation

decisions" had to be made depending on the claim type. In re

Literary Works in Elec. Databases Copyright Litig., 654 F.3d 242,

251-55 (2d Cir. 2011).

      None of those cases support creating a siabclass here. The

policyholders in Virginia and Massachusetts have already suffered

similar injuries to the ones that the rest of the policyholders

have suffered, so Achem does not support a subclass here. Neither

Ortiz nor Literary Works applies because, unlike in those cases,

the Amended Settlement Agreement does not set a maximum amount of

damages that the class members can receive.                The   Settlement

structure allows every eligible class member to select a Special

Election Option in which they will receive a cash damages payment,

and every payment thereby selected would be paid in full regardless

of any other class member's election. Accordingly, there is no
allocation decision necessary to distribute the relief, and thus

there is no interclass conflict that would require subclasses.



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      The Langs also contend that this subclass is necessary because

there is a lack of commonality between the majority of class

members and those located in Virginia and Massachusetts. ECF No.

51   at   15-16.   Under   Fed.   R.   Civ.   P.    23(a)(2),      there   must   be

"questions of law or fact common to the class." The Plaintiffs

assert that the questions of law and fact common to the Class

Members are:


            • whether Genworth omitted material information from
              the rate increase letters and other correspondence
               that was necessary to make their partial disclosures
               not misleading;

            • whether Plaintiffs and the Class are entitled to a
               declaration that Genworth's prior correspondence
               omitted material information necessary to make their
               partial disclosures not misleading;

            • whether      Genworth    should      be   enjoined    from   further
               misconduct; and

            • the appropriate measure of damages or other relief to
               which Plaintiffs and the Class Members are entitled.

Compl. H 176. Additionally, there is nothing in the record to

suggest that these questions of law and fact do not apply to class
members in Virginia and Massachusetts.

      For the foregoing reasons, the Langs' objection as to a

subclass based on the level of damages must be overruled.

      2. Subclass Based on Nan-Forfeiture Status

      The Langs also believe there should have been a subclass
created for class members whose policies are in non-forfeiture

status because these class members "can more easily establish

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reliance" but received the biggest drop in compensation as compared

to similar class members in the Skochin and Halcom cases. ECF No.

51 at 16-17. This aspect of the Langs' argument is flawed because

it is based on the recovery of different class members in a

different case rather than on their claims in this case. Thus,

even if the Langs' "other case" theory were viable (which it is

not), the claims in the present case, as Class Counsel explains,

are not as strong as those brought in Skochin and Halcom, so the

settlement options were expected to be lower as a reflection of

the risk of litigation and the recovery that was available. ECF

No. 86 at 10. In any event, the Langs have not shown that they

would receive more damages than other class members if individual

allocations were to occur. And, it is difficult to understand how

they would receive more damages because they stopped paying
premiums before this action commenced. Lastly, as Class Counsel

explained during the November 17 hearing, two of the Class

Representatives, Fred Haney and Stephen Swenson, are in non

forfeiture status, so that subclasses' interests were adequately

represented by Class Counsel. ECF No. 96 at 80:20-81:17.

      Accordingly, for the foregoing reasons, the Langs' objections

will be overruled.




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      C. Inadequate Representation for Partnership Policy-holders

      Haslett (ECF Nos. 62 and 63) argues that ''Class Counsel did

not represent the Public interests of the LTC Partnership Program."

ECF No. 62 at 25.


      It is not at all clear why Haslett has standing to raise such

an   objection.   Moreover,    the   objection   is   based   on   a   phone

conversation that Haslett claims to have had with Class Counsel on

August 10, 2022. Id. However, the record lacks any detail about

the substance of the conversation. The argument fails for that

reason alone.


      Haslett's   proposed    solution for     the    alleged failure     to

represent the public interest is for the Court to "direct various

state health agencies to intervene . . . to represent the interests

of Class Member Partnership policy interests." Id. at 25-26. In

response. Class Counsel contends that the Court does not need to

"deteinnine every entity that might be tangentially impacted by

every proposed class action settlement and then force those

entities to intervene." ECF No. 86 at 47. Instead, Class Counsel

argues that the Court has met the requirements under the Class
Action Fairness Act {"CAFA"), 28 U.S.C. § 1715, and that that was

the extent of the Court's notification duty. Id.

      Class Counsel is correct. The Court was not obligated to force

certain entities to intervene. CAFA requires that "each defendant

that is participating in the proposed settlement . . . serve upon

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the appropriate State official of each State in which a class

member resides and the appropriate Federal official, a notice of

the proposed settlement consisting of" an enumerated list of items.

28 U.S.C. § 1715(b). As the Court required, Genworth sent such

notice to the relevant state official in all 50 states and the

District of Columbia as well as the Attorney General of the United

States on April 11, 2022. ECF No. 29. After that notice was sent,

it was up to each individual state regulator to decide to intervene

and   to   inform   other   state   parties,    including    any   entities

responsible for the public health partnership programs, about the

class action. No state chose to intervene or file an objection.

ECF No. 82. Accordingly, this portion of Haslett's objection will

be overruled.


      D. Broadening the Class

      The Bergs (ECF No. 44) contend that the Class definition

should be expanded to include ^^all individuals who ever paid any

premiums, including those who allowed the policy to lapse, because

all policy holders were subjected to the same deception." ECF No.

44 at 2. Here too, it is unclear why the Bergs have standing to

present an objection of this sort.

      In response. Class Counsel argues that this expansion would

be inappropriate because it would include individuals who were not

allegedly harmed and the disclosures given as relief would not be
"relevant to any decision they could make regarding their lapsed

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policy." ECF No. 86 at 25-26. Class Counsel correctly points out

that expanding the          Class to include individuals            with lapsed

policies would not be consistent with the relief sought in the

Complaint because the disclosure of the future increased premiums

would have no effect on individuals without active plans. Further,

expanding the Class in this manner would adversely affect the

commonality       between    class       members.    Accordingly,    the    Bergs'

objection on this ground will be overruled.

II. Challenges Involving Notice

      Haslett (ECF No. 62) objects to the fact that there is not an

additional opt-out or objection period after the class members

have received more information, including the disclosures about

future rate increases. Likewise, Dimiduk {ECF No. 67) argues that

she had to decide whether or not to opt-out without knowing what

benefits she might receive or which options were available to her.

Lastly, Bos (ECF Nos. 35 and 48) and the Langs (ECF No. 51) argue

that there was not enough notice provided in the Fees and Awards

Motion. ECF No. 96 at 34:23-35:25, 71:20-74:17.

      Fed.   R.    Civ.     P.   23(e)    requires    notice   of   the    proposed

settlement (and consequent dismissal) of a class action to all

members of the class. The rule is ''meant to protect class members

from the binding effect of a settlement in a class suit where the

class members       had     no opportunity to object to             the proposed

settlement." Kevin D. Hart, Annotation, Propriety of notice of

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voluntary dismissal or compromise of class action^ 52 A.L.R. Fed.

457 (1981). Notice afforded to class members "must be the best

practicable, ^reasonably calculated, under all the circumstances,

to apprise interested parties of the pendency of the action and

afford them an opportunity to present their objections.'" Hege v.

Aegon USA, LLC, 780 F. Supp. 2d 416, 429-30 (D.S.C. 2011) (quoting

Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 812 (1950)); Fed.

R. Civ. P. 23(c)(2). Under the due process requirements of the

Fifth    Amendment,     putative    class    members     must   be    given

"[r]easonable notice combined with an opportunity to be heard and

withdraw from the class." See In re Serzone Products Liability

Litigation, 231 F.R.D. 221, 231 (S.D.W.Va. 2005). Further, Fed. R.

Civ. P. 23 provides that:

            The notice must clearly and concisely state in
            plain, easily understood language:
            (1) the nature of the    action;
            (2) the definition of    the class certified;
            (3) the class claims,    issues, or defenses;
            (4) that   a   class     member  may   enter  an
            appearance through an attorney if the member
            so desires;
            (5) that the court will exclude from the class
            any member who requests exclusion;
            (6) the time and manner for requesting
            exclusion; and
            (7) the binding effect of a class judgment on
            members under Rule 23(c)(3).

Fed. R. Civ. P. 23(c)(2)(B). In essence, notice must provide class

members with enough infoimation to make an informed choice




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regarding     the   proposed   settlement.     In    re   Serzone   Products

Liability Litigation, 231 F.R.D. at 231. Thus, ''due process does

not necessarily require a global class action settlement notice to

contain detailed, comprehensive information about the law of class

members' states." Hege, 780 F. Supp. 2d at 430.

      There are no objections to the mode of notice or to the

adequacy of its reach and distribution. Instead, the objections to

the adequacy of the Notice are based upon the adequacy of the

substantive    information     provided   in   the   notice   or    upon   the

generalized assertion that additional infoirmation should have been

included within the Notice. Even the objections based on the

perceived need to provide an additional opt-out or objection period

come down to a complaint about the type of information that was

provided in the notice. No matter how presented, these arguments

all present the same issue: "that the Notice is defective because

class members must decide whether to opt-out (or not) of the action

before they know exactly what disclosures Genworth will make as

part of the settlement, [or] exactly what elections they will have

the ability to make." Skochin v. Genworth Fin., Inc., at *13. "And,
it is reasonable to construe all of these objections as arguing

that the [Amended] Settlement Agreement is defective for the same

reasons." Id.


      Just as in Skochin, the Notice and the Amended Settlement

Agreement are complex. But, complexity alone does not render the
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Notice inadequate or defective. Nor does complexity alone render

the Amended Settlement Agreement objectionable for being unfair,

unreasonable, or inadequate.

      The complexity arises, in the first instance, from the fact

that the Amended Settlement provides a variety of remedial options

to the class members. That, of course, is a recognition that with

long-term care insurance, one kind of remedy does not fit all class

members even though their claims arise out of the same facts (i.e.,

misrepresentation by omission). That recognition, and the crafting

of a settlement to take it into account, is not grounds to find

either the Notice or the Settlement Agreement inadequate. That is

particularly so where, as here, the various options are outlined

with such specificity as is currently available.

      Just   as   in Skochin,    the    Court is   satisfied   that,   with

reasonable study, class members can understand the various options

and can discern, from among them, which best fits their respective

circumstances. In like measure, if no option fits a class member's

circumstances, the member was allowed to opt out of the Settlement.

      In assessing the adequacy of the Notice, as well as the

fairness of the settlement itself, it is important that, according

to the record, as of November 1, 2022, the Notice reached more

than 99% of the more than 352,000 class members. ECF No. 81-1 H

10. It is also significant that objections were lodged by 0.008%

of the class and only 0.025% of the class opted out. See ECF No.

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86 at 1 (noting that ''there were only 19 Objections (by 27 class

members)); EOF No. 81-1 H 16 (noting that of the 352,146 potential

class members, 187 individuals opted out). In other words, the

overwhelming majority of the class did not complain that the

Notice, albeit complex,           was beyond comprehension or that the

Amended Settlement Agreement was substantially unfair in requiring

class members to opt out (or remain in) the settlement class before

they received the disclosures from Genworth, knew exactly what

elections they had to make, or knew exactly what damages they might

receive.


      Here, as in In re Lumber Liquidators Chinese-Manufactured

Flooring Prod. Mktg. Sales Practices & Prod. Liab. Litig., the

fact that so few members of the class objected to, or opted out

of, the settlement is a testament to the conclusion that the Notice

was adequate as well as to the conclusion that the settlement is

fair and reasonable. 952 F.3d 471, 485 (4th Cir. 2020). In other

words, on this record, the Court concludes that the overwhelming

number of recipients of the Notice found that neither it, nor the

Amended      Settlement    Agreement it described,         was   objectionable

either because the Notice did not adequately explain the settlement

terms   or    because     those   terms   were   unfair   or   unreasonable   or

inadequate.

      Moreover, it is not necessary that class members have an exact

explanation of the settlement benefits that they will receive

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before they must decide whether to opt out. Indeed, many class

settlements require class members to elect one remedy or another

before opting out. See, e.g., In re Equifax Inc. Customer Data

Sec. Breach Litig., No. 1:17-MD-2800-TWT, 2020 WL 256132, at *2-3

(N.D. Ga. Jan. 13, 2020); In re Anthem, Inc. Data Breach Litig.,

327 F.R.D. 299, 331-32 (N.D. Cal. 2018); see also In re Prudential

Ins. Co. Am. Sales Practice Litig. Agent Actions, 148 F.3d 283,

328 (3d Cir. 1998).

      In sum, the Notice adequately explains the class claims, the

issues, and the defenses. It also defines the Settlement Class.

It explains how and when class members may object to, or exclude

themselves (opt-out) from, the settlement. Further, the Notice

explains in considerable detail the Settlement terms. It gives

class members sufficient information to make an informed choice

whether to accept the Settlement, object to it, or opt-out of it.

      "The test for whether a given item must be included in a class

notice is whether that information is such that             *a reasonable

person would consider [it] to be material in making an informed,

intelligent decision of whether to opt out or remain a member of

the class and be bound by the final judgment.'" Good v. Am. Water

Works Co., Inc., No. 2:14-cv-01374, 2016 WL 5746347, at *8 (S.D.W.

Va. Sept. 30, 2016) (quoting In re Nissan Motor Corp. Antitrust
Litigation, 552 F.2d 1088, 1104 (5th Cir. 1977)).



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      Genworth's plans for future rate increases, which will be

disclosed to class members in the Special Election Letter, are

certainly important in deciding which option to exercise, but that

information is not known now, and, indeed, is not now knowable. It

will become known near the time that the Special Election Letter

will be sent. Thus, the question becomes whether the Disclosure

information, albeit important, must be given to class members

before they must decide whether to opt out. That is only partly an

objection to the adequacy of the Notice. It also is an objection

to the fairness, reasonableness, and adequacy of the Amended

Settlement Agreement.

      But the response is the same whether the objection is treated

as pertaining to the adequacy of the Notice or the fairness,

reasonableness, and adequacy of the Amended Settlement Agreement

itself. So, the point will be addressed here.

      Although understanding the magnitude of projected future rate

increases is important in deciding which option to pursue when

presented with specific options, it is not information that is
necessary in deciding whether, on the one hand, to participate in
a plan that will give the class member both the Disclosure of the
likely future rate increases (when that is known) and the specified
options available at the time the Disclosure is made; or, on the
other hand, to opt out of the class action and proceed on one's

own with a fraud claim.


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       It is fair and reasonable to require the opt-out decision

before the details of the forthcoming Disclosure are made because

the Disclosures will be accompanied by the right to make elections

in light of the Disclosures. That is what this action is all about.

That is what the Plaintiffs say they were entitled to initially,

and, as relief in this case, and, that is what the class is getting

by virtue of the Settlement Agreement.

       In other words, as to the fraud by omission claim, class

members are given notice that the Amended Settlement Agreement, if

approved, will give them the kind of information that, in the class

claims, is allegedly needed to be able to decide upon the options

that will be presented to them in the Special Election Letter. In

addition, class members know that they will receive a cash payment

and/or a paid-up policy.

       Putative   class    members    who   considered       these    results

insufficient were able to opt out and to pursue their claims

individually. And, they had enough information to allow them to

make    that   decision,   notwithstanding     that   they    do     not   know

Genworth's specific plans for rate increases or the exact value of

the paid-up benefit.

       Armed with the knowledge that they will receive what they are

entitled to (disclosures and new elections) under the policy and




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more (cash benefits and paid-up benefits), putative class members

had sufficient information whether to take the settlement course

or set sail on their own. No more is required.

      The proposed alternative is to have Genworth distribute the

special election letters and any other pertinent information and

then allow class members to opt out if they do not like the options

made available to them. But the course posited by the Amended

Settlement Agreement is what Genworth is willing to do. That course

gives class members what they sued for and more. Class Counsel

considers this course to be acceptable in perspective of the

discovered evidence and an evaluation of the likelihood of success.

No objector has shown Class Counsel's opinion to be erroneous or

even flawed.


      All things considered, the Notice is adequate under the

applicable law and the objections to the Amended Settlement
Agreement addressed in this section do not make its terms unfair,
unreasonable,       or   inadequate.      Accordingly,   the     objections

pertaining to having an additional opt-out or objection period
will be overruled.


      Lastly, during the November 17, 2022, hearing. Bos (ECF Nos.
35 and 58) and the Langs (ECF No. 51) raised objections to the

allegedly    late    submission    of     Class   Counsel's    request   for
attorneys' fees, arguing that they were not given enough notice
and time to file an objection on the issue. ECF No. 96 at 34:23-

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35:25, 71:20-74:17. However, the Fees and Awards Motion (ECF No.

41) was filed on September 16, 2022, which gave class members over

two weeks to submit objections to the Court. See ECF No. 31

(setting the deadline for objections as September 30, 2022). Class

Counsel did submit a SUPPLEMENT TO CLASS COUNSEL'S APPLICATION FOR

AN AWARD OF ATTORNEYS' FEES AND EXPENSES AND SERVICE AWARDS TO THE

NAMED PLAINTIFFS (ECF No. 88) on November 14, 2022, but that only

updated the total hours from the original Motion. Accordingly, the

class   members    received   sufficient    notice    of   the   amount   of

attorneys' fees that Class Counsel was seeking and had adequate

time to submit an objection. Therefore, Bos's and the Langs'

objections on that ground will be overruled.

      During the same hearing, Gary Davis (ECF No. 61) raised the

issue about members such as himself who received a rate increase

letter from     Genworth   and   had   to make   an election after        the

settlement in this case had been preliminarily approved but before

notice was received informing them of the pending case. Likewise,

Kathryn Dimiduk (ECF No. 67) presents that she "had to make a
decision [about coverage following a rate increase letter] before

knowing this lawsuit existed." This objection pertains to a unique
group of individuals that the Court will examine separately during
the final approval settlement hearing on December 13, 2022, after
both parties, Davis, and Dimiduk have an opportunity to submit
written briefing on the matter.

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III. Challenges to the Settlement Options

      Bos (ECF Nos. 35 and 58), the Dowlers (EOF Nos. 45 and 47),

the Hays {ECF No. 49), and Arrowsmith (ECF No. 55) object to the

lack of damages payment to class members who ultimately choose to

maintain their current insurance benefit plan rather than choose

one of the given settlement options. Additionally, Haslett (ECF

No. 62), the Hays (ECF No. 49), and the Bergs (ECF No. 44) object

to the options provided as a part of the settlement, arguing that

there also should be an option that allows class members to

maintain their inflation benefits, if applicable, and an option

that gives class members a full refund of any benefits paid to

Genworth plus interest.

   A. Damages Payment to Class Members who Maintain Current Plan

      A handful of objectors question why class members who receive

the disclosures on future rate increases yet choose to maintain

their current level of benefits do not receive any damages payment

similar to those class members who choose one of the options given

in the Amended Settlement Agreement. In response. Class Counsel

argues that the cash damages provided to class members who choose
a Special Election Option "are intended to compensate Class Members

who allegedly would have reduced their benefits, and thus premiums,

sooner had Genworth earlier and more fully disclosed information

regarding its plans for rate increases." ECF No. 86 at 18. To

compensate for the harm of failing to disclose the rate increases,

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Class Counsel argues that the Disclosures given to every class

member is the "equitable remedy" that addresses the harm of

"Genworth's alleged failure to timely and sufficiently disclose

its plans for future rate increases." Id.

      That is correct. The Complaint sought relief for Genworth's

failure to disclose planned rate increases, see Compl.            134-169,

and the equitable remedy for that harm would be to put class

members in the position they should have been in, which is knowing

the future rate increases before making an election on whether to

maintain their current benefits or reduce them in exchange for a

reduced premium. Cash damages would be inappropriate to those class

members who receive the Disclosures and choose to maintain their

current benefits because they were already made whole by the new

disclosures    and   opportunity     to   revise   their   past    benefits

election. Contrastingly, class members who choose one of the

Special Election Options are presumed to have chosen to reduce
their benefits in the past if they would have received the

disclosures prior to a rate increase. Thus, those class members

are receiving a cash damages payment to compensate them for not

having the ability to make that election sooner. Accordingly, the




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objections^ as to a lack of further relief beyond the Disclosures

for class members who choose to maintain their current benefits

will be overruled.


      B. Objections to the Special Election Options

      The Bergs (ECF No. 44) object to the fact that there is no

Special Election Option that allows class members "to claim a

refund     for   all   premiums   paid    since    policy   inception,   plus

interest." ECF No. 44 at 1. The Bergs believe that this should be

an option because, when they decided initially to purchase their

plan, Genworth allegedly falsely implied that there would never be

a rate increase because there had not been one in over thirty

years. Id. Thus, the Bergs contend that had they known there would

such steep rate increases when purchasing their plan, "it is very

unlikely [they] would have purchased" insurance from Genworth. Id.

Accordingly, the Bergs request an option for relief (a refund of

premiums) that would compensate them for purchasing the insurance

plan. Id.

      In    response.     Class    Counsel        argues    that   Genworth's

representation of no future rate increases was made in 2007, which
falls outside of the timeframe for this class action. ECF No. 86

at 25. Class Counsel also explains that the statement was true at




5 Jonathan Bos (ECF Nos. 35 and 58), Henry and Anna Dowler (ECF
Nos. 45 and 47), Ronald and Torrie Hays (ECF No. 49), and Janet
Arrowsmith (ECF No. 55).

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the   time   it   was   made,   so   it    would   not   even   qualify   as   a

misrepresentation. Id. Thus, says Class Counsel, the Bergs cannot

receive a full refund as relief in this lawsuit because it concerns

activity that does not constitute the claims that are alleged in

the Complaint. Id.

      It is correct that the representations for which the Bergs

seek relief fall outside the Class Period. ECF No. 109-1 (defining

the Class Period as beginning on January 1, 2013). The objection

fails for that reason alone. Moreover, a remedy requiring refund

of all premiums ever paid to Genworth would not be appropriate

relief for failure to disclose rate increases during a limited

period. If the Bergs wish to receive compensation in the form of

all premiums paid since policy inception plus interest, they would

need to bring a separate case that asserts misrepresentations made

beginning in 2007 and how those misrepresentations violate the

law.® Accordingly, because this form of relief is not available

for the claims presented in the Complaint, the Bergs' objection

(ECF No. 44) based on the absence of an option for a full refund

of premiums will be overruled.

      Next, Haslett (ECF Nos. 62 and 63) and the Hays (ECF No. 49)

raise objections to the treatment of class members' current



® The Court in no way suggests that such a suit would be successful
on the merits or that, if such a suit were filed, the Bergs would
receive the relief that they request here.
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inflation benefits. Haslett argues that the lack of a Special

Election Option that allows class members to maintain their

existing inflation protection coverage "materially strips the most

valuable policy characteristic from the policy and is not remotely

reflective of block characteristics."'' EOF No. 62 at 8. The Hays

(EOF No. 49) contend that the one percent inflation benefit in

Option 4 is below Genworth's own three percent "annual inflation

default"   and     that   the   Deficit Reduction Act of           2005    ("DRA")

requires higher inflation protection for Partnership policies. EOF

No. 49 at 1.


      Class    Counsel     does   not   directly        respond    to   Haslett's

objection, but in response to the Hays' objection, Class Counsel

contends that the current options "are intended to meet the premium

reduction needs of most Class Members that will select an Option"

and that policyholders have the option to maintain their current

benefits. Id. at 28-29.


      As   Class    Counsel     explains     in   the   Reply     Brief,   it   was

administratively not possible, and also would be impractical, to

offer unlimited settlement options to more than 352,000 class

members. ECF No. 86 at 19. Thus, the parties had to agree on a



  The Court is unsure what "block characertictics" means in the
context of this sentence from Haslett's objection. ECF No. 62 at
8. However, in reading the entire objection, it is clear that
Haslett is objecting to the lack of Special Election Option that
would allow policyholders to retain their inflation protection
benefit.

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limited number of options that would properly compensate the

largest number of class members if elected. Those class members

who highly value their inflation protection benefits are free to

maintain their current benefits or to reduce other coverage outside

of the settlement to keep their inflation benefits while reducing

coverage in other areas. But, as Class Counsel notes, "[t]o obtain

meaningful premium reductions based on filed rates, Policyholders

must    make   meaningful     benefit     reductions,"    which   includes

reductions to inflation protection benefits. Id. Importantly, the

addition of a new Special Election Option in the Second Amended

Settlement Agreement allows eligible class members to reduce their

benefits but retain the inflation protection,             which addresses

Haslett's objection. ECF No. 106 at 9. Accordingly, the objections

as to an option with great inflation protection benefits will be

overruled.


       As for the Hays' DRA argument. Partnership polices must

provide "compound annual inflation protection" to individuals

under sixty-one years of age at "the date of purchase." S. 1932,

109th Cong. § 6021(a)(1)(A) (2005). This provision thus applies on

the date of purchase and likely would not be a hindrance to changes

in coverage made when the policy is already active. But, as a

safeguard, Genworth will be personally customizing each class

members' special election letter to only include the options that

the specific class member is eligible for. ECF No. 33-1 H 46(a)-

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(d). Because it can be safely assumed that Genworth would not offer

an option that would violate a regulatory provision, Partnership

policyholders will not be offered an option to reduce inflation

benefits should it violate the DRA. Accordingly, there does not

appear to be a conflict with the Special Election Options and the

DRA. Therefore, the Hays' DRA objection will be overruled.

IV. Challenges Concerning the Overall Fairness and Adequacy of the
Amended Settlement


      A number of objectors contend that as a whole, the Amended

Settlement Agreement is not "fair, reasonable, and adequate." See

Fed. R. Civ. P. 23(e)(2). Haslett (ECF Nos. 62 and 63) believes

that the options that allow class members to reduce their policy

benefits are not in the best interests of the Class. Black (ECF

No. 46) argues that the relief offered in the Amended Settlement

Agreement is not adequate. The Langs (ECF No. 51) do not believe

that all members of the class were treated equitably. The Hays

(ECF No. 49) present data that the relief options will not cover

the actual cost of long-term care. Similarly, Michael and Howard

(ECF No. 37) and Mack (ECF No. 64) object that the class members

are not being compensated by the options given.          Bos (ECF Nos. 35

and 58) believes that other options must be added in order to make

the Amended Settlement Agreement fair. Moore (ECF No. 54) argues

that the Release clause is too broad. Finally, the Dowlers (ECF




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No. 47) and Bos (ECF Nos. 35 and 58) object because they argue

that Genworth is making a profit off of this settlement and that

the release provides a windfall for Genworth.

       Contrary    to    these    objections,       the   Amended    Settlement

Agreement affords class members considerable benefits. First, the

Disclosures to be made pursuant to the Amended Settlement Agreement

will   inform     the   class    members   about    anticipated     future   rate

increases,      Genworth's      then   current     financial   condition,     and

Genworth's need for the anticipated future rate increases to remain

solvent and       to pay future claims. Then, in light of                    these

Disclosures, class members are given the opportunity to make new

policy elections.

       So, in essence, the Amended Settlement Agreement offers class

members the ability to make new policy elections, equipped with

information about possible premium increases in future years.                   As

Class Counsel explains in their Reply Brief (ECF No. 86), the

purpose of the class action is to afford class members the

opportunity to "re-choose" their policies as if they had been

informed about Genworth's long-term plans for rate increases in

2013, when rate increases first began to occur. ECF No. 86 at 3-

5. The terms of         the Amended Settlement Agreement require the

Disclosures, the omission of which is a central component of the

class complaint.




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      In determining whether to approve a class action settlement,

the issue is not whether everyone affected by the settlement is

completely satisfied. Instead, the test is whether the settlement,

as a whole, is a fair, adequate, and reasonable resolution of the

class claims asserted. See, e.g.. In re Genworth Fin. Sec. Litig.,

210 F. Supp. 3d 837, 839 (E.D. Va. 2016). The terms of the Amended

Settlement Agreement provide class members with Disclosures, as

well as options to weigh in light of those disclosures. It is true

that the Amended Settlement Agreement does not present class

members with every conceivable option, or even, the best option in

light of the particular circumstances faced by each class member.

But, that does not mean that the Amended Settlement Agreement lacks

significant value or that it is unfair or unreasonable or

inadequate.

      A settlement is a compromise between parties to avoid the

risk of having the matter decided at trial where either side might

lose. Here, Class Counsel negotiated with counsel for Genworth to

create a solution that was in line with the key objectives of the

lawsuit and, by any measure, the Amended Settlement Agreement was

successful in doing so. The options provided to class members take

into consideration, insofar as reasonably possible, the range of

circumstances that reasonably could be expected to be confronted

by most class members and affords them the opportunity to make
selections from the options afforded.

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      The Amended Settlement Agreement stands to confer substantial

benefit on    more    than 352,000 policyholders. It affords class

members the opportunity to obtain substantial monetary damages and

the ability to make a new election for their long-term care

policies based on additional disclosures relating to Genworth's

plans for future rate increases and financial viability. The

Amended Settlement Agreement provides a mechanism for those who do

not think that they will be benefitted to opt out. And, the Amended

Settlement Agreement provides a mechanism for those who object to

the teinns of the Settlement to object to it. The options provided

to class members within the settlement enable class members to

elect an option based on their individual financial circumstances

and other factors that a policyholder might find important. In the

Court's view, these are substantial benefits obtained for class

members as a result of the Amended Settlement Agreement. And, when

measured against the substance of the claims pleaded in the

Complaint    and     the   relief   sought,   this   settlement    achieves

significant results for the Class.

      Moore (ECF No. 54) has objected to the Release clause. It is

difficult to discern his concerns, but they appear to be that the

Release clause is too broad in that it would prevent future claims

concerning intentional fraudulent behavior if it were to be

discovered in the future. To begin, the clause includes commonly-

used language that has been used in other cases, including the

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final settlement agreement from Halcom. See e.g. / ECF No. 113-1 in

Case No. 3;21-cv-19, f 55(c); Wittstadt v. Hosch, No. CCB-16-2251,

2016 WL 7157417 (D.        Md. Dec. 8, 2016).       Further, there is an

exemption for ''express and intentional misrepresentation[s]" made

in the forthcoming disclosures, so those claims could still be

brought if the settlement is approved. ECF No. 33-1 H 50(a). For

these reasons, the objection to the scope of the release will be

overruled.


      Finally, as to the Dowlers' objection (ECF No. 47) concerning

Genworth's financial gain from the Settlement, it is no part of

the law of     class actions that the terms of a settlement must

economically devastate a defendant or preclude it from making a

profit. Indeed, were there such an exception, defendants would

have little reason to agree to a settlement at all.              And, whether

Genworth     will   make   a   profit   going    forward    is   a   matter   of

speculation. In any event, the fact that Genworth may make a profit

in the future is no ground to scuttle a settlement that benefits,

in significant ways, so many people, and that achieves, in

significant measure, the relief sought in the Complain. The

Dowlers' objection will be overruled.

      Accordingly,     for     the   foregoing   reasons,    the     objections

pertaining to the overall fairness and adequacy of the Settlement

will be overruled.




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V. Miscellaneous Challenges that Remain

       A. Objections Related to Rate Increases

       Taylor (ECF No. 38), Sol Resnikoff (ECF No. 59), Pamela

Resnikoff (ECF No. 60), and Dimiduk (ECF No. 67) all object to the

past rate increases assessed and collected by Genworth. Similarly,

Mack (ECF No. 64) objects to the lack of stipulation in the Amended

Settlement Agreement as to future rate increases, arguing that

some additional protection beyond state regulators should be built

into    the   settlement terms    in   order   to     prevent Genworth from

imposing ^^outrageous [rate] increases" in the future. ECF No. 64

at 1.


       In assessing these objections, it is necessary to keep in

mind the basis of this class action and the class claims. As

explained     in   Skochin   v.   Genworth     Life    Ins.   Co.,   "all   the

[plaintiffs'] claims . . . are based on the theory that Genworth

withheld material information from the plaintiffs. That is not a

challenge to the reasonableness of the rate." 413 F. Supp. 3d 473,

483 (E.D. Va. 2019) (Payne, J.) (emphasis added); see also ECF No.

86 at 4 ("[T]his case only challenged . . . the materiality of the

information that Genworth did not share with Policyholders and the

effects that informational imbalance had on Policyholders' renewal

elections."). The same is true here.

        However, because Genworth's past rate increases were approved

by the appropriate regulatory authorities, any objections to the

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propriety of the rates themselves are barred by the filed-rate

doctrine.® Thus, all objections based on the notion that the

settlement is inadequate for failure to have challenged the past

increases, that the past increases were too high, or stipulations

pertaining    to    the   amount of       future    rate    increases   will   be

overruled.


      B. Financial Stress on Genworth


       Arrowsmith (ECF No. 55) objects to the proposed settlement

on the ground that it will financially stress Genworth and could

be used to justify higher premiums in the future. In essence,

Arrowsmith argues that terms of the settlement will further strain

Genworth's     resources     and       will    negatively   affect   Genworth's

financial     situation.    As     a    result,    believes   Arrowsmith,      the

settlement will impair Genworth's ability to pay policyholder

claims.


      There    is   no    explicit      requirement    that   a   class   action

settlement provide assurances that a defendant will be financially

viable in the future. Nonetheless, the Court is obligated "to




® The filed-rate doctrine is a federal and state common law doctrine
that precludes lawsuits that challenge the payment of rates filed
with a state or federal regulator. See, e.g., AT&T Co. v. Cent.
Office Tel., Inc., 524 U.S. 214, 221-23 (1998). This doctrine
precludes civil lawsuits that challenge the alleged misconduct
leading to the payments of the filed rates. The Court need not
examine this doctrine in detail at this time, as it is not material
to the outcome at hand. Skochin v. Genworth Fin., Inc., No. 3:19-
cv-49, 2020 WL 6532833, at *19 & n.8 (E.D. Va. Nov. 5, 2020).
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appraise the reasonableness of particular class-action settlements

on a case-by-case basis, in light of the relevant circumstances."

In re Microstrategy. Inc. Sec. Litig., 148 F. Supp. 2d 654, 663

(E.D. Va. 2001) (internal quotations omitted). And whether a class

action defendant is able to pay claims to policyholders plays a

role in the Court's fairness analysis under Fed. R. Civ. P. 23.

And, the ability to satisfy terms which could not reasonably be

expected to be satisfied would be illusory. It is difficult to see

how such a settlement could ever be fair, reasonable, or adequate.

      With that in mind, it is necessary to recall that a core

contention in this action was that premium increases were caused

because Genworth's reserves were not adequate to meet its potential

obligations under, inter alia, the LTC policies at issue here.

Accordingly, it is reasonable for class members to question how a

settlement    purporting    to   pay    substantial     cash     damages    and

attorneys' fees might affect Genworth's financial viability and

ability to pay claims in the future.

      In response to these concerns, Genworth represented to Class

Counsel and to the Court that it will be able to pay the attorneys'

fees and to meet its other obligations under the Amended Settlement

Agreement,    including    the   cash       damages   payments    elected    by

Settlement Class members. ECF No. 33-1 H 67(a). Genworth further

represented that the attorneys' fees, service awards, and cash

damage expenses of the Amended Settlement Agreement will not be

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used as "actuarial justification in seeking any additional future

rate increases" Id. f 67(b). Accordingly, Genworth has presented

information sufficient to overcome Arrowsmith's concerns on the

basis of     the    company's financial ability to               deliver on the

settlement.     Based      on   the   assurances   given    by    Genworth,   the

objection as to Genworth's ability to pay future claims will be

overruled.


      C. Information on Genworth's Long-Term Plans

      Moore (ECF No. 54) argues that "Class Counsel should have

obtained in discovery documents showing what the premium increases

would look like over the long term" because "that information is

crucial to [his] decision as to whether or not to remain in the

class." ECF No. 54 at 1-2. In response. Class Counsel assures that

"infoirmation      about   Genworth's    internal   plans    for    future    rate

increases is precisely what will be disclosed in the Disclosures

to be provided in each Class member's Special Election Letter."

ECF No. 86 at 37.


      The    Amended       Settlement     Agreement    provides       that     the

Disclosures in the Special Election Letter sent to all class

members will include the plan for future rate increases if one

exists. ECF No. 33-1 at 48 (App. B). Further, as Class Counsel

described in their Reply Brief (ECF No. 86), discovery did not

uncover a long-term plan for rate increases for this group of class

members as they did in Skochin and Halcom, ECF No. 86 at 11, so

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there is no "long-standing, long term plan for premium increases"

to disclose to class members. Accordingly, Moore's objection will

be overruled.


      D. John Haslett's Remaining Objections

      Finally, Haslett (ECF Nos. 62 and 63) raises two outstanding

objections that the Court has not yet addressed. First, Haslett

objects to the lack of participation in the settlement of state

regulators and public health partnership representatives. ECF No.

62 at 14, 25-27. Second, Haslett argues that a wide range of

information, including the information that state regulators had,

the   settlement   results   from    Skochin,    information     about   State

Guaranty Association, and information about inflation deltas,

should have been provided to class members, the named parties, and

numerous other participants. Id. at 2-3, 5, 10, 13, 15; ECF No. 63

at 3.


      As   to   Haslett's   first   objection,    the   record   shows    that

Genworth   gave full     notice     to all state    insurance     regulators

pursuant to the Class Action Fairness Act ("CAFA"), 28 U.S.C. §

1715. Thus, the regulations were all able "to decide whether to

intervene or take another action," to include notifying any public

health partnership representatives in each state. ECF No. 86 at

47. Class Counsel contends that this was the extent of the Court's

notification duty and that the Court is under no obligation to

"force those entities to intervene." Id.         Class Counsel is correct

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that the statutory requirement to notify state regulators has been

met. CAFA requires that "each defendant that is participating in

the proposed settlement . . . serve upon the appropriate State

official of each State in which a class member resides and the

appropriate Federal official, a notice of the proposed settlement

consisting of" an enumerated list of items. 28 U.S.C. § 1715(b).

Genworth sent such notice to the relevant state official in all 50

states and the District of Columbia as well as the U.S. Attorney

General on April 11, 2022. EOF No. 29. After that notice was sent,

it was up to each regulator to decide whether to intervene and to

inform other state parties, including any entities responsible for

the public health partnership programs, about the class action. No
state chose to intervene. ECF No. 82. The Court has neither the

duty nor the authority to force regulators to participate in this
case    or   to   dictate   who   should    participate    in   settlement

negotiations. Accordingly, Haslett's objection (ECF Nos. 62 and
63) will be overruled.

       Regarding Haslett's second objection respecting the need to
distribute additional information to the various parties. Class

Counsel argues that it was either provided or was unnecessary to
make the settlement fair and adequate. ECF No. 86 at 41-43. The

settlement data from Skochin has been made available on the record

within Nicholas Sheahon's Declaration (ECF No. 43-3), so it was

readily available for any interested party, including state
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regulators. Haslett has not shown that the information that he

asserts should     have   been disclosed was necessary for adequate

notice as described in Fed. R. Civ. P. 23(c)(2)(B). Nor has he

shown how that information is necessary to a determination whether

the   notice   was adequate or      whether the settlement is fair,

reasonable, and adequate. Accordingly, Haslett's objection on this

matter will be overruled.


                                 CONCLUSION


      For the foregoing reasons, and to the extent outlined above,

the   objections    to    Plaintiffs'     Motion    to   Approve   the   Class

Settlement as set forth above will be overruled.® The Court will

address all objections to the Fees and Awards Motion in a separate

opinion.

      It is so ORDERED.




                              Robert E. Payne
                                                   /s/      AF/
                              Senior United States District Judge



Richmond, Virginia
Date; December     t      2022




 ® The objection by Davis and Freedlander (ECF No. 61) and a portion
of Dimiduk's objection (ECF No. 67) will be addressed after
briefing is complete.
                                     58
